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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 KIRK E. SHERRIFF
   HENRY Z. CARBAJAL III
 3 Assistant United States Attorneys
   2500 Tulare Street, Suite 4401
 4 Fresno, CA 93721
   Telephone: (559) 497-4000
 5 Facsimile: (559) 497-4099

 6 Attorneys for the
   United States of America
 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 1:10-cr-00249 AWI-BAM
12                                Plaintiff,               STIPULATION AND ORDER RE
                                                           RESTITUTION
13   v.
                                                           DATE: July 27, 2015
14   EVELYN BRIGGET SANCHEZ,                               TIME: 10:00 a.m.
                                                           JUDGE: Hon. Anthony W. Ishii
15                                Defendant.
16

17                                             STIPULATION
18          The United States of America, by and through its counsel of record, and defendant, by and
19
     through her counsel of record, hereby stipulate as follows:
20
            1.      The defendant was sentenced by the Court on March 2, 2015, following conviction
21
     after a jury trial of one count of conspiracy to commit mail, wire and bank fraud (18 U.S.C. § 1349),
22

23 and eleven counts of mail fraud (18 U.S.C. § 1341).

24          2.      Pursuant to 18 U.S.C. § 3664(d)(5), the Court set a hearing on restitution to determine

25 victim’s losses for July 27, 2015 at 10:00 a.m.
26          3.      The parties have reached this agreement and stipulation as to the restitution amount
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     owed by the defendant, as set forth below. The parties therefore jointly request that the agreed
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                                                       1
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     restitution be incorporated into the judgment following sentencing.
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            4.      The parties agree and stipulate, and request that the Court find the following:
 2

 3          a.      The total amount of restitution owed by defendant Sanchez is set forth in Attachment

 4 A to this stipulation. Attachment A describes the total amount of restitution and the apportionment

 5 of restitution among defendant Sanchez’s victims in this case.

 6
            b.      The parties’ stipulation and the agreed amounts in Attachment A satisfy the
 7
     requirements of 18 U.S.C. § 3664(d)(5), requiring a determination of victim’s losses “not to exceed
 8
     90 days after sentencing.”
 9

10          c.      Defendant Sanchez agrees that the judgment and commitment issued in her case will

11 include the restitution amounts and apportionment agreed to in Attachment A.

12          d.      Restitution as stated in Attachment A shall be due during the period of imprisonment,
13 at the rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons’ Inmate Financial

14
     Responsibility Program. If any amount of restitution remains unpaid after release from custody, the
15
     United States Probation Officer assigned to Evelyn Brigget Sanchez shall set a schedule ordering
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     payments depending on the defendant’s monthly income, but not less than $50.00 per month, during
17

18 the period of supervised release, such payments to begin 120 days after the commencement of

19 supervision. The interest is waived.
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     IT IS SO STIPULATED.
 1
     DATED:         July 14, 2015
 2                                        /s/ Henry Z. Carbajal III
                                          HENRY Z. CARBAJAL III
 3                                        Assistant United States Attorney
 4 DATED:           July 14, 2015
                                          /s/James R. Homola
 5                                        JAMES R. HOMOLA
                                          Counsel for Defendant
 6                                        EVELYN BRIGGET SANCHEZ
 7

 8                                                ORDER
 9                  Restitution as agreed to above shall be incorporated into an amended judgment
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     forthwith. The hearing set July 27, 2015, is vacated.
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12
     IT IS SO ORDERED.
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14 Dated: July 16, 2015
                                                 SENIOR DISTRICT JUDGE
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                                                                           ATTACHMENT A
                                     Case 1:10-cr-00249-JLT-BAMRestitution
                                                                 Document    368 Filed 07/16/15 Page 4 of 4
                                                                           Amount
                                                                        Evelyn Brigget Sanchez


                                                                       Restitution-      Restitution-
                 Property                   Originating Lender         First Loan       Second Loan       Entity to Receive Resitution          Reference
3715 Kathy Suzanne Way, Bakersfield      Long Beach Mortgage Co.        $152,795.96        $78,149.14                 FDIC             Bates 35832, 35841
8111 Fighting Irish Drive, Bakersfield   Long Beach Mortgage Co.         $94,011.88        $70,811.82                 FDIC             Bates 31914, 31928

                                                                                                 Total:           $395,768.80


Restitution for 3715 Kathy Suzanne Way is to be joint and several with co-defendants Eric Ray Hernandez and Monica Marie Hernandez.
Restitution for 8111 Fighting Irish Drive is to be joint and several with co-defendants Eric Ray Hernandez and Darling A. Montalvo.




                                                                              Page 1 of 1
